Case 09-11833-KG Doc 530 Filed 09/30/09 Page 1 of 2

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
R.H. DONNELLEY CORPORATION, et al.’ | - Case No. 09-11833 (KG)
Debtors. Jointly Administered

Ref. Docket No. 446

 

ORDER PURSUANT TO 11 U.S.C. § 1121(d) EXTENDING
THE EXCLUSIVE PERIODS WITHIN WHICH THE DEBTORS MAY
FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

 

Upon the Motion? of the above-captioned Debtors for entry of an order pursuant
to section 1121(d) of the Bankruptcy Code extending the Exclusive Periods; and upon
consideration of the Motion and all pleadings relating thereto; and the Court finding that (a) it
has jurisdiction over the matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334, (b)
this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and (c) proper notice of the Motion
and the hearing thereon has been given and that no other or further notice is necessary and it
appearing that the relief requested therein is in the best interest of the Debtors, their estates and
creditors, and other parties in interest; and after due deliberation, and good and sufficient cause
appearing therefor, it is hereby

ORDERED, that the Motion is granted; and it is further

 

| The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: R.H. Donnelley Corporation (0040), R-H. Donnelley Inc. (7635), DonTech Holdings, LLC (1351),
R.H. Donnelley Publishing & Advertising of Illinois Holdings, LLC (1433), DonTech IT Partnership (0375), R.H.
Dennelley Publishing & Advertising of Illinois Parmership (9571), R.H. Donnelley Publishing & Advertising, Inc.
(8228), Get Digital Smart.com, Inc. (4530), R-H. Donnelley APIL, Inc. (6495), RHD Service LLC (0222), Dex
Media, Inc. (9762), Dex Media East, Inc. (5763), Dex Media East LLC (4575), Dex Media East Finance Co. (5761),
Dex Media West, Inc. (7004), Dex Media West LLC (3487), Dex Media West Finance Co. (7059), Dex Media
Service LLC (9647), Business.com, Inc. (9750), and Work.com, Inc. (5224). The Debtors’ corporate headquarters
are located at, and the mailing address for each Debtor is, 1001 Winstead Drive, Cary, NC 275 13,

? Capitalized terms used but not defined herein shal! have the meaning ascribed to such terms in the Motion.

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Case 09-11833-KG Doc 530 Filed 09/30/09 Page 2 of 2

ORDERED, that the Exclusive Filing Period in these chapter 11 cases is hereby

extended through and including January 22, 2010; and it is further

ORDERED, that the Exclusive Solicitation Period in these chapter 11 cases is
hereby extended through and including January 31, 2010; and it is further |
ORDERED, that the entry of this Order shall be without prejudice to the Debtors’

right to request further extensions of the Exclusive Periods; and it is further

ORDERED, that that this Court shall retain jurisdiction to hear and determine all

matters arising from or related to the implementation or interpretation of this Order.

Dated: Wilmington, Delaware
September 33_, 2009

  

Kevin
United States Bankruptcy Judge

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